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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA
                                         SAVANNAH DIVISION


             AUSUSTIN RUBIO-GARCIA

                              V.                               CASE NO.: CV414-158
                                                                         CR413-1 16-4

             UNITED STATES OF AMERICA

                                                     ORDER

                    Let a copy of this Report and Recommendation be served upon the parties.

             The parties will be allowed fourteen (14) days from the date of service of this Report

             and Recommendation to file objections. 28 U.S.C. § 636(b)(1); FED. R.CIV.P.72(b)(2).

             If no objections are made, this Report and Recommendation will be adopted as a

             record of the proceedings and may become the opinion and order of the Court. Devine

             v. Prison Health Services, Inc., 212 F. Appx 890, 892 (11th Cir. 2006).

                   All requests for additional time to file any objections to this Report and

             Recommendation should be filed with the Clerk for consideration by the undersigned.

                    The Clerk of Court is directed to submit the Report and Recommendation with
                                                                         4
             objections, if any, on or before the              day of I-f               12015.

                    SO ORDERED this 14 day of July, 2015.



                                                              F
                                            ,,,-   TA ES E. GRAHAM
                                          7        UNITED STATES MAGISTRATE JUDGE




AO 72A
(Rev.8/82)
